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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION


UNITED STATES OF AMERICA

v.                                                     NO. 3:19-CR-00318-K
SANJAY NANDA (01)




                  GOVERNMENT OPPOSITION TO DEFENDANT’S
                  MOTION TO AMEND CONDITIONS OF RELEASE

       The defendant, Sanjay Nanda, pleaded guilty several months ago to a one-count

Information charging him with embezzling almost $6,000,000 over a four-year period

from his employer at the time, Sabre GLBL, Inc. Nanda now moves the Court to amend

his conditions of release to allow him to travel outside the United States, specifically, to

India, where he and his family reside, for a period of six weeks to deal with family

matters. While the government recognizes that requiring Nanda to remain in the United

States pending sentencing has and likely will continue to impose hardships on Nanda and

his family, the government respectfully submits that they are the consequences of

Nanda’s voluntary decision to leave the United States while he was being investigated.

Because the government has no practical recourse to obtain Nanda’s return in a timely

manner if he fails to return on his own, the government requests the Court deny the

motion.

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                                 FACTUAL BACKGROUND

        Between July 2010 and October 2015, Nanda was employed by Sabre GLBL, Inc.

(“Sabre”) as the Senior Vice-President for Airline Solutions. Beginning in late 2011, and

continuing through the month he left Sabre’s employ, Nanda knowing and intentionally

engaged in a scheme to embezzle funds from his employer. By the time he left Sabre,

Nanda had stolen over $5,900,000 from the company. See Presentence Investigation

Report (“PSR”), Dkt. No. 24-1 ¶ 14, at 5.

        Soon after Nanda resigned, Sabre discovered the embezzlement and brought a

civil suit against him to recover the embezzled funds. Nanda eventually entered into a

settlement with Sabre, see id., and in or around mid-2016, moved back to India with his

wife.

        In January 2019, apparently aware that he could be the subject of a criminal

investigation, Nanda traveled to the United States for business. See Defendant’s Motion

to Amend Conditions of Release (hereinafter “Motion to Amend”), Dkt. No. 27-1, at 1

(“Knowing that the criminal matter was separate and still ‘in play’ [Nanda] voluntarily

traveled to the United States . . . .”). As far as the government is aware, before he

traveled to the United States Nanda did not, either directly or through a third party such

as counsel, contact any authorities in the United States to determine if charges had been

filed or if he would be allowed to leave once he entered the country.



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       On January 26, 2019, when he entered the country at John F. Kennedy

International Airport in the Eastern District of New York, Nanda was arrested on a

criminal complaint issued by this Court the preceding day, charging Nanda with

knowingly devising and executing a wire fraud scheme ro embezzle funds from Sabre, in

violation of 18 U.S.C. § 1343. Dkt. No 3, at 3-5 (Affidavit of FBI Special Agent Jordan

Anderson in Support of Removal to the Northern District of Texas). Later that same day,

Nanda appeared before a Magistrate Judge in the Eastern District of New York, who

ordered Nanda released pending trial subject to several terms and conditions. These

release conditions included the requirements that Nanda reside with his brother in New

Jersey, surrender his passport, restrict any travel to New York State, New Jersey, and the

Northern District of Texas, and that Nanda’s brother post a $350,000 appearance bond.

See Order Setting Conditions of Release and Appearance Bond, Dkt. No. 3, at 8 § I

(Release Orders); id. at 8 § II at ¶¶ 1, 4, and 6; see also Defendant’s Motion, Dkt. No. 27-

7, Exhibit F (surety bond).

On July 1, 2019, the government filed a felony Information charging Nanda with one

count of wire fraud. Dkt. No. 10. On August 6, 2019, pursuant to a written plea

agreement, Nanda pleaded guilty to the one-count Information before this Court. Dkt.

No. 17. Later that same day, this Court issued a report recommending that the District

Court accept Nanda’s plea, Dkt. No. 19, and on August 21, 2019, United States District

Judge Kinkeade accepted the plea and adjudged Nanda guilty. Dkt. No. 21.

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                                         ARGUMENT

       As a general rule, a defendant who has been found guilty of an offense and who is

awaiting imposition of a sentence should be detained unless the judicial officer finds by

clear and convincing evidence that the defendant is not likely to flee or pose a danger to

any other person or the community if released. 18 U.S.C. § 3143(a). Following Nanda’s

plea of guilty, the government did not object to his continued release subject to the terms

and conditions imposed at his initial appearance. Those conditions restricted Nanda’s

travel to three enumerated States and required that he surrender his passports, ensuring

that he could not (lawfully) leave the United States. See Dkt. No. 3, at 4 ¶ 2 (Nanda

carrying three U.S. passports when he entered the country). Without a valid passport, and

taking into account his cooperation and apparent sincere remorse, the government

believed that Nanda did not pose a significant risk of flight.

       That calculus changes, however, if Nanda is allowed to return to India, his country

of origin. Nanda has been living in India for the last several years with his wife and

child; his elderly parents, at least one of whom suffers from a serious medical condition,

reside there as well. See Motion to Amend, at 2. He also has been gainfully employed in

India since he returned, see PSR ¶¶ 50-52, and given his impressive education and

employment history it seems reasonable to suppose that he would not have a problem

resuming gainful employment. Thus, there are immediate and compelling attractions in

India that will persistently serve as inducements to stay, and insistently remind him what

he will forfeit by returning to the United States to face imprisonment. Given the obvious
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compelling nature of these factors, allowing Nanda to leave the United States and return

to his country of origin and present residence substantially increases the risk he will not

to appear for sentencing as ordered.

       Additionally, and critically, once Nanda is in India the ability of the United States

government to enforce the Court’s order and re-obtain jurisdiction over his person is

severely limited. If Nanda remains in India beyond the time permitted by the Court, the

only lawful recourse the government has is to file an extradition request that India. In

fact, India does have a modern dual-criminality extradition treaty with the United States,

under Indian nationals can be extradited. See Extradition Treaty Between the

Government of the United States of America and the Government of the Republic of

India, June 25, 1997, S. Treaty Doc. No. 105-30 (1997). But the experience of the

Department of Justice is that the extradition of Indian nationals from India occurs, if it

occurs, only after an extremely lengthy process. Based on conversations with the

attorney in the Criminal Division Office of International Affairs responsible for

extradition matters with India, undersigned counsel understands that the backlog in the

Indian courts is so severe that few extradition requests have been adjudicated, and that

the last individual extradited back to the United States from India was returned some 15

years after the government filed the extradition request. Telephone Interview of Mark

Tellitocci, Attorney-Advisor, U.S. Department of Justice, Office of International Affairs

(October 25, 2019). This problematic process not only renders the government’s ability


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to enforce the Court’s order all but illusory, but it serves as another inducement for

Nanda to ignore the Court’s order and remain in India.

       In summary, the government is not indifferent to the hardships that Mr. Nanda’s

release conditions have imposed on his family to date and that will result if the Court

denies the instant motion. But these hardships are the direct consequences of his

sustained, criminal course of conduct, one of which is the government’s significant

interest in ensuring that he remains within this Court’s jurisdiction and is held fully

accountable for his actions.

                                           Respectfully submitted,
                                           ERIN NEALY COX
                                           UNITED STATES ATTORNEY


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                                CERTIFICATE OF SERVICE
       This is to certify that on October 28, 2019, a true and correct copy of the

Government=s Opposition to Defendant’s Motion to Amend Release Conditions was

served on counsel for the defendant, Robert R. Smith, by means of the United States

District Court for the Northern District of Texas Electronic Case Filing System.



                                                   /s/ Paul Yanowitch
                                                   PAUL YANOWITCH
                                                   Assistant United States Attorney




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